    Case 4:16-cv-00959-ALM-CAN Document 19 Filed 03/08/17 Page 1 of 1 PageID #: 565




                                 United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION


      MAURICE LUGGE                                   §
                                                      §
      v.                                              §   Civil Action No. 4:16-CV-959
                                                      §   (Judge Mazzant/Judge Nowak)
      ALLSTATE FIRE AND CASUALTY                      §
      INSURANCE COMPANY, JACK BRYANT                  §

                      MEMORANDUM ADOPTING REPORT AND
               RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

            Came on for consideration the report of the United States Magistrate Judge in this action,

     this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

     On February 10, 2017, the report of the Magistrate Judge (Dkt. #18) was entered containing

     proposed findings of fact and recommendations that Plaintiff Maurice Lugge’s Motion to Abstain

     and Remand (Dkt. #10) be granted.

            Having received the report of the United States Magistrate Judge, and no objections thereto

     having been timely filed, the Court is of the opinion that the findings and conclusions of the

     Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and

     conclusions of the Court.

.           It is, therefore, ORDERED that Plaintiff Maurice Lugge’s Motion to Abstain and Remand

     (Dkt. #10) is GRANTED, and this case is hereby REMANDED to the 431st Judicial District

     Court, Denton County, Texas, for further proceedings.

            IT IS SO ORDERED.

            SIGNED this 8th day of March, 2017.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
